           Case 2:22-cv-01635-TL            Document 55      Filed 05/24/23       Page 1 of 28




 1                                                                                 Honorable Tana Lin

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   BARONIUS PRESS, LTD., an Isle of Man
     limited company,                                     Case No. 2:22-CV-01635-TL
10
                                            Plaintiff,    DEFENDANT’S MOTION TO
11                                                        DISMISS
            v.
12                                                        NOTE ON MOTION CALENDAR:
     FAITHLIFE LLC, a Delaware limited                    JUNE 16, 2023
13   liability company,

14                                      Defendant.

15

16                                     I.        INTRODUCTION

17          This case is about the innocent, very limited distribution of one work—an English-

18   language translation of a German-language theological text published in 1955. As the plaintiff

19   Baronius Press, Ltd. itself alleges, defendant Faithlife LLC published this work for two

20   months, voluntarily pulled it six months before being contacted by Baronius, and distributed a

21   total of 75 copies. In all, Faithlife received $388 in revenue, which Baronius does not contest.

22          For this publication, Baronius brings four claims—filed days before the expiration of

23   the statute of limitations (applying the discovery rule). Specifically, Baronius alleges that the

24   publication of that 1955 work infringed two different copyrights—an exclusive right in the

25   original German work, Grundriss der kotholischen Dogmatik by Ludwig Ott (“Grundriss”),

26   and the copyright to Fundamentals of Catholic Dogma by Dr. Patrick Lynch


      DEFENDANT’S MOTION TO DISMISS - 1                                                K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                      SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL          Document 55         Filed 05/24/23      Page 2 of 28




 1   (“Fundamentals”). Baronius also brings claims under the Digital Millennium Copyright Act

 2   for the reproduction and distribution of “false copyright management information”—

 3   specifically the copyright information from the copyright page of the 1950s book Faithlife

 4   scanned. But Baronius has not plausibly stated a claim as to any of its four claims.

 5          Count 1: Grundriss copyright infringement. For Grundriss, Baronius has alleged

 6   (and its exhibits show) that it owns, at most, only a limited exclusive right to create,

 7   distribute, and publish a new English translation of Grundriss. Baronius does not, and cannot,

 8   allege that it possesses any exclusive rights to prior English translations, including

 9   Fundamentals. This is because of the limited right granted to Baronius, and because the

10   assignment contracts expressly forbid Baronius from publishing Fundamentals. Because

11   Baronius alleges only that Faithlife published the 1950s Fundamentals, and not Baronius’s

12   new translation which was published in 2018, Baronius has not plausibly alleged infringement

13   of a right it possesses and therefore lacks standing. The claim therefore should be dismissed.

14          Count 2: Fundamentals copyright infringement. For Fundamentals, Baronius has

15   failed to plausibly allege ownership of the copyright or any exclusive right. As a restored

16   work under the Uruguay Round Agreements Act, the U.S. copyright to Fundamentals vested

17   by law in the “author.” The author, both in fact and as Baronius has alleged, is Dr. Patrick

18   Lynch. While Baronius has alleged that Mercier Press (the original publisher from which

19   Baronius’s rights allegedly derive) was the first copyright owner because it paid Dr. Lynch a

20   translation fee, this is both irrelevant (because the URAA specifies copyrights are restored to

21   “authors” and, even accepting Baronius’s allegations, Mercier Press would not be an “author”

22   under Irish law) and incorrect (because Baronius has not pled plausible facts that could

23   establish Mercier Press as the first copyright holder under Irish law). Baronius’s allegations

24   and exhibits instead show that the U.S. copyright vested by law with Dr. Patrick Lynch, the

25   author, and Baronius has not alleged that Dr. Lynch assigned any of his rights in writing to

26   Mercier Press or Baronius. Because Baronius’s conclusory allegations of copyright ownership


      DEFENDANT’S MOTION TO DISMISS - 2                                                K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                      SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL            Document 55      Filed 05/24/23       Page 3 of 28




 1   are contradicted by law, its own factual allegations, and the exhibits to its complaint, Baronius

 2   has failed to plausibly plead ownership of the Fundamentals copyright and therefore lacks

 3   standing. This claim should also be dismissed.

 4          Counts 3 and 4: DMCA claims for distribution of false CMI. Lastly, Baronius has

 5   failed to state a claim as to its DMCA claims for at least two reasons. First, if the Court

 6   dismisses Counts 1 and 2, Baronius lacks standing to pursue its DMCA claims. This is

 7   because Baronius’s alleged injuries derive entirely from ownership of the copyright (for

 8   Fundamentals) or exclusive right (for Grundriss). Second, Baronius has not pled plausible

 9   factual allegations to satisfy the intent requirement of Section 1202(a)—specifically that

10   Faithlife acted “with the intent to induce, enable, facilitate, or conceal infringement” when it

11   provided the CMI. Instead, Baronius has alleged only boilerplate recitations of the intent

12   elements, while other factual allegations, complaint exhibits, and Faithlife’s uncontested

13   statements (which are attached to the complaint) directly contradict any plausible intent and

14   instead show that Faithlife made an innocent mistake.

15          Because Baronius has failed to state a claim on any of the four claims it brings, and

16   now has had two chances to amend while rejecting a third opportunity, the Court should

17   dismiss these claims with prejudice.

18                                 II.      STATEMENT OF FACTS

19          A.      Baronius’s Alleged Ownership of an Exclusive Right for Grundriss

20          Baronius alleges the following:

21          Grundriss is a German work, authored by Ludwig Ott, and published in 1952 by

22   Verlag Herder & Co. Plaintiff Baronius’s Second Amended Complaint, Dkt. # 48 (“SAC”) ¶

23   28. An English-language version was created in 1955, Fundamentals. SAC ¶ 37. In 1985,

24   Regina Ott, Ludwig’s sister and sole heiress, donated his estate to “Seminary of the diocese of

25   Eichstätt” (which Baronius labels the “Seminary”). SAC ¶ 30. The actual 1985 “assignment

26


      DEFENDANT’S MOTION TO DISMISS - 3                                                K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                      SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL         Document 55         Filed 05/24/23     Page 4 of 28




 1   of rights” document conveys rights to “Priesterseminar der Diözese Eichstätt.” SAC Exh. 2;

 2   Dkt. # 48-3 at p. 6.

 3          In 2008, a different “Seminary,” “Bischöfliches Seminar Eichstätt, Collegium

 4   Willibaldinum,” made arrangements with nova et vetera (“Nova”) to create and publish a new

 5   English-language translation of Grundriss. SAC ¶ 32; Dkt. # 48-3 at p. 11. This contract

 6   between Nova and the Seminary states that “the older version of the text in the former form

 7   [i.e. Fundamentals (1955)] is by no means reused.” Dkt. # 48-3 at p. 12. In 2009 Nova

 8   conveyed this same right, to create and publish a new English-language translation, to

 9   Baronius. SAC ¶ 33, Exh. 2; Dkt. # 48-3 at pp. 13–15.

10          Baronius also alleges that the “Seminary” granted exclusive rights for Grundriss to

11   Nova in 2004. SAC ¶ 32. Baronius does not explain the discrepancy between the two

12   “Seminary” entities, or posit which entity conveyed its rights in 2004.

13          Baronius published a fully-revised new English-language translation of Grundriss in

14   2018 (the “2018 Licensed Edition”). SAC ¶ 44. Baronius does not allege that Faithlife

15   published the 2018 Licensed Edition of Grundriss. Rather, Baronius only alleges that Faithlife

16   published Fundamentals (1955). SAC ¶ 49.

17          B.      Baronius’s Alleged Ownership of Fundamentals

18          Baronius alleges the following:

19          Fundamentals is a 1955 translation of Grundriss. SAC ¶ 36. It is an original work of

20   authorship, authored by Dr. Patrick Lynch. SAC ¶ 36, 38. Baronius alleges Dr. Lynch was

21   “commissioned” by Mercier Press to create the translation “as work for hire.” SAC ¶ 36.

22   Baronius alleges that Dr. Patrick Lynch is the “author” of Fundamentals. SAC ¶ 25, Table 1.

23   Baronius does not allege that Dr. Lynch was an employee or under a contract of service or

24   apprenticeship with Mercier Press. Nor does Baronius allege (or attach) any writing by Dr.

25   Lynch that assigns any exclusive right or license to Mercier Press, Baronius, or any of its

26


      DEFENDANT’S MOTION TO DISMISS - 4                                              K&L GATES LLP
                                                                               925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                    SEATTLE, WA 98104-1158
                                                                                  TELEPHONE: +1 206 623 7580
                                                                                  FACSIMILE: +1 206 623 7022
            Case 2:22-cv-01635-TL         Document 55        Filed 05/24/23      Page 5 of 28




 1   predecessors in interest. Baronius alleges that it acquired all rights to Fundamentals from

 2   Mercier Press.

 3          C.        Faithlife’s Publication of Fundamentals in 2019

 4          Baronius alleges that Faithlife published “at least seventy-five copies” of

 5   Fundamentals over three months, from March 24, 2019 to June 26, 2019. SAC ¶ 4, 49, 55.

 6   Specifically, Baronius alleges that Faithlife published the Second Edition of Fundamentals

 7   from March 1957. SAC ¶ 73. Baronius attached emails from Faithlife to Baronius to its

 8   complaint that show Faithlife’s publication of Fundamentals was accidental and without

 9   intent. SAC ¶ 62, 65, Exh. 6–7; Dkt. # 48-8–9. Specifically, that new Faithlife employees, not

10   employed from 2013 to 2015, consulted a copyright renewal database rather than a copyright

11   registration database under the mistaken belief that the initial 28-year protection under the

12   1909 Copyright Act for a work published in the 1950s would have lapsed long ago. SAC ¶ 67,

13   Exh. 7; Dkt. # 48-8 at p. 3, 9. Baronius does not contradict Faithlife’s explanations in the

14   SAC.

15                                            III.   ARGUMENT

16          A.        The SAC fails to state a claim for copyright infringement (Counts 1 and
                      2).
17
            To state a claim for copyright infringement, Baronius must plausibly allege:
18
     “(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that
19
     are original.” Feist Pub’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991); see Malibu
20
     Textiles, Inc. v. Label Lane Int'l, Inc., 922 F.3d 946, 951 (9th Cir. 2019). The SAC asserts two
21
     counts of copyright infringement.
22
            For Grundriss, Baronius has failed to plausibly allege the second element.
23
     Specifically, although Baronius attaches documents to the SAC that appear to show that it has
24
     been assigned an exclusive right to the Grundriss copyright, Baronius has not alleged that
25
     Faithlife infringed that right. Indeed, the SAC conclusively shows that Faithlife has not.
26


      DEFENDANT’S MOTION TO DISMISS - 5                                               K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                     SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL           Document 55        Filed 05/24/23      Page 6 of 28




 1          For Fundamentals, Baronius has failed to plausibly allege that it owns a valid

 2   copyright or any exclusive right for at least two reasons. First, by statute, the copyright for

 3   this restored work vested automatically in the author, Patrick Lynch, and Baronius has failed

 4   to show that the author assigned that right to anyone. Second, even if the copyright could have

 5   vested in anyone aside from the author, Baronius has failed to plausibly allege that it has

 6   ownership of the copyright under Irish law.

 7          B.       Grundriss: Baronius has not plausibly alleged that Faithlife infringed its
                     exclusive right (Count 1).
 8
                     1. Baronius has alleged, and its exhibits prove, that it owns an exclusive right
 9                      to a new work—a new and revised edition of Fundamentals.
10
            Baronius concedes that Seminary Eichstätt is the copyright owner of Grundriss. SAC
11
     ¶¶ 28–35, Exh. 2; Dkt. # 48-3 at pp. 6–8. Instead, Baronius has alleged that it possesses an
12
     exclusive right to Grundriss, specifically that it “obtained the exclusive right to reproduce,
13
     adapt, and distribute Grundriss English Edition.” SAC ¶ 33; see also SAC ¶ 92 (“Plaintiff is,
14
     and has been since 2009, the exclusive licensee of the rights to reproduce, adapt and distribute
15
     an English-language edition of the German-language original work Grundriss (‘Grundriss
16
     English Edition’).”); ¶ 118. That right was obtained from nova et vetera (“Nova”), a
17
     publishing company, that obtained the same right from the copyright holder, the Seminary, in
18
     2008. SAC ¶ 32 (“In November 2008. Seminary granted the rights to an English-language
19
     edition of Grundriss (‘Grundriss English Edition’) to Nova for the remaining duration of the
20
     copyright.”).
21
            Baronius further alleges that, “[d]ue to errors in the original English translation which
22
     undermined the reputation of Fundamentals, the exclusive license from Nova required
23
     Plaintiff to publish Fundamentals only after it had been revised, corrected and approved by
24
     Nova.” SAC ¶ 43. In other words, Baronius alleges that it possesses an exclusive right to
25
     create and publish a new English translation of Grundriss, which Baronius labels Grundriss
26


      DEFENDANT’S MOTION TO DISMISS - 6                                                 K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                       SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
             Case 2:22-cv-01635-TL              Document 55           Filed 05/24/23          Page 7 of 28




 1   English Edition. Baronius published that revised new work, presumably after receiving

 2   approval, in 2018. SAC ¶ 44 (“In April 2018, Plaintiff published its new fully revised and

 3   updated edition of Fundamentals.”); see also SAC Exh. 9; Dkt. # 48-10 (containing the

 4   copyright information page from Baronius’s new 2018 edition stating “This edition first

 5   published in 2018 by Baronius Press” and “This new edition by Baronius Press is based on

 6   the original translation by Mercier Press. It has been fully revised and updated and it

 7   conforms to the latest 11th German edition of Grundriss der Katholishcen Dogmatik published

 8   by nova & vetera, Bonn, Germany in 2010.”).

 9            The exhibits attached to the SAC confirm these allegations and add further clarity.

10   Exhibit 2 contains both the 2008 contract between the Seminary and Nova and the 2009

11   contract between Nova and Baronius. SAC Exh. 2; Dkt. # 48-3 at pp. 12–19. The 2008

12   contract is in German, but Baronius attached an English translation. It states:

13                     “In addition to the publishing contract dated 6/11. July 2004 the
                       publisher nova vetera e.K., Bonn, hereby also the right for an
14                     English-language edition of the Grundrisses der Dogmatik of Prof.
                       Dr. Ludwig Ott.
15

16                     The bishop’s seminary of St. Willibald in Eichstatt receives a copy
                       of every edited version of the English version.
17
                       In light of the controversy surrounding the English edition in the
18                     1960s, the publisher nova & vetera e.k. To ensure that the old
                       version of the text in the former form is by no means reused.
19
                       Eichstatt, 10 November 2008”
20
     SAC Exh. 2; Dkt. # 48-3 at p. 12 (emphasis added).1 As the above makes clear, the right
21
     granted to Nova from the Seminary was limited to creating a new English translation and
22
     Nova was expressly forbade from publishing “the old version of the text in the former form”
23

24

25
     1
       This contract references a 2004 contract between Nova and the Seminary. Baronius alleges that, in this
26   contract, “Seminary granted exclusive controlling rights for Grundriss to nova et vetera (‘Nova’). This contract
     is not attached to the complaint or otherwise referenced, but it is not relevant to the issues here.

         DEFENDANT’S MOTION TO DISMISS - 7                                                         K&L GATES LLP
                                                                                             925 FOURTH AVENUE, SUITE 2900
         Case No. 2:22-CV-01635-TL                                                               SEATTLE, WA 98104-1158
                                                                                                TELEPHONE: +1 206 623 7580
                                                                                                FACSIMILE: +1 206 623 7022
             Case 2:22-cv-01635-TL              Document 55           Filed 05/24/23         Page 8 of 28




 1   (i.e. Fundamentals as translated by Patrick Lynch in 1955). Nova did not obtain any rights to

 2   publish the original 1955 version of Fundamentals, or any other prior versions.

 3            The 2009 contract between Nova and Baronius conveys the same limited right to

 4   create and publish a new English translation. Specifically, Section 1 states that Baronius is

 5   granted “the exclusive license to translate and publish the Work in volume form in the

 6   ENGLISH language . . .”. SAC ¶ 33 Exh. 2, Dkt. # 48-3 at p. 13 (emphasis added).2 Section 2

 7   states “[t]he Publishers will have a period of three years from the date of this contract in

 8   which to prepare an English translation of the 11. Edition. This must be submitted for

 9   approval by the Publishers to the Proprietors prior to publication.” Id. at p. 13 (emphasis

10   added). Section 9 clarifies that “All Rights in the Work, other than those specifically granted

11   to [Baronius] under this Agreement, are reserved by [Nova].” Id. at p. 14. Thus, as with the

12   2008 Contract, the 2009 Contract granted Baronius the right to translate and publish a new

13   English translation of Grundriss, specifically one based on the new 11th edition of the

14   German-language Grundriss. The 2009 contract does not grant Baronius any rights to publish

15   other works, including the existing 1955 edition of Fundamentals—only the right to prepare a

16   new translation, subject to approval by Nova before publication.

17            In sum, Baronius does not possess an exclusive right as to the original work

18   Fundamentals that was first published in 1955. Baronius does not allege such a right and the

19   exhibits Baronius has attached conclusively prove it. Indeed, Baronius’s rights granted from

20   the copyright holder expressly exclude the 1955 Fundamentals edition, and Baronius admits

21   that it is barred by contract from publishing that version.3 Instead, Baronius alleges (and its

22

23
     2
       “The Work” is defined as “Grundriss der katholischen Dogmatik” by Ludwig Ott. Exh. 2.
     3
24     See also FAC Exh. 8, Dkt. # 13-9 at p. 2 (Jan. 31, 2020 letter from Baronius to Faithlife stating “[U]nder the
     terms of our exclusive license, Baronius was prohibited from publishing Fundamentals until the text had been
25   revised, corrected and approved by the German copyright holder for faithfulness to the latest 11th edition of the
     original work Grundriss der katholischen Dogmatik (‘Grundriss’). After several years of extensive re-translation
26   and editorial works, Baronius obtained a new Imprimatur and published this revised and updated edition of
     Fundamentals on April 23, 2018.”).

         DEFENDANT’S MOTION TO DISMISS - 8                                                         K&L GATES LLP
                                                                                             925 FOURTH AVENUE, SUITE 2900
         Case No. 2:22-CV-01635-TL                                                               SEATTLE, WA 98104-1158
                                                                                                TELEPHONE: +1 206 623 7580
                                                                                                FACSIMILE: +1 206 623 7022
             Case 2:22-cv-01635-TL               Document 55            Filed 05/24/23          Page 9 of 28




 1   exhibits show) that it possesses an exclusive right to publish a new English translation of

 2   Grundriss. Baronius alleges that it published this new version in 2018. See SAC ¶ 44, Exh. 9;

 3   see also FAC Exh. 8; Dkt. # 13-9 at p. 2 (describing the new translation as requiring “several

 4   years of extensive re-translation and editorial works”).

 5
                       2. Baronius alleges that Faithlife published the 1955 Fundamentals—not
 6                        Baronius’s newly revised 2018 work.
 7            Baronius does not allege that Faithlife published Baronius’s new 2018 translation of
 8   Grundriss. Instead, Baronius alleges that Faithlife published the “The English-language
 9   translation of Grundriss entitled Fundamentals of Catholic Dogma (‘Fundamentals’)” that
10   “was first published by Mercier Press in Ireland in 1955.” See SAC ¶¶ 36, 37, 49; see also
11   ¶ 96 (“Defendant willfully, intentionally and purposefully reproduced and distributed
12   Grundriss English Edition, and/or a substantially similar reproduction thereof.”).
13            This is further confirmed by both the exhibits attached to the Second Amended
14   Complaint, as well as the First Amended Complaint. SAC Exhibit 9 shows Faithlife’s
15   publication of Fundamentals, which specifically lists “Copyright 1957 B. Herder Book
16   Company”—i.e. the copyright information from the 1957 edition of the book that Faithlife
17   scanned and published (the same edition Faithlife mistakenly published in 2013 before the
18   new 2018 translation had even been published).4 Dkt. # 48-10 at p. 2. Similarly, Exhibit 8 to
19   the First Amended Complaint is a January 31, 2020 letter from Baronius to Faithlife.5 Dkt.
20   #13-9 at p. 2. In it, Baronius expressly states “The original translation of Fundamentals that
21
     4
22     This is seen even clearer in Exhibit 7 to the First Amended Complaint, which shows the complete copyright
     pages from the scanned copy of Fundamentals that Faithlife published—confirming that it was the Second
23   Edition, March 1957 translated by Patrick Lynch. This Exhibit was omitted from the Second Amended
     Complaint.
     5
24     Baronius omitted this exhibit from its Second Amended Complaint, but did attach it to the Original and First
     Amended Complaints. To the extent this exhibit is not considered part of the pleadings because Baronius
25   excluded it from the Second Amended Complaint, the Court may take judicial notice of this document because it
     is generally known within the Court territorial jurisdiction (it was publicly filed, twice) and it can be accurately
26   and readily determined from sources whose accuracy cannot reasonably be questioned (Baronius itself attached
     the document and alleged its authenticity).

         DEFENDANT’S MOTION TO DISMISS - 9                                                           K&L GATES LLP
                                                                                               925 FOURTH AVENUE, SUITE 2900
         Case No. 2:22-CV-01635-TL                                                                 SEATTLE, WA 98104-1158
                                                                                                  TELEPHONE: +1 206 623 7580
                                                                                                  FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL            Document 55         Filed 05/24/23       Page 10 of 28




 1   Faithlife published (B. Herder Book Company, 1957, Second Edition) is known to have

 2   several historical, theological, doctrinal and substantial grammatical errors.” Id.

 3           In sum, Faithlife published the original Fundamentals translation from the 1950s

 4   (specifically the Second Edition from March 1957). There are no allegations that Faithlife

 5   published the revised and new 2018 English translation of Grundriss from Baronius (nor

 6   could there be, because Faithlife did not publish it).

 7                   3. Baronius cannot state a claim because it does not allege that Faithlife
                        infringed the right it allegedly possesses.
 8
             Baronius has no standing for a copyright infringement claim based on its exclusive
 9
     rights granted by Nova to an English translation of Fundamentals because that right was
10
     limited to creating a new translation that Faithlife did not publish. “[O]nly ‘the legal or
11
     beneficial owner of an exclusive right under a copyright is entitled, subject to the
12
     requirements of Section 411, to institute an action for an infringement of that particular right
13
     committed while he or she is the owner of it.’” Minden Pictures, Inc. v. John Wiley & Sons,
14
     Inc., 795 F.3d 997, 1003 (9th Cir. 2015) (citing 17 U.S.C. § 501(b)) (emphasis added). When
15
     a copyright owner transfers some exclusive rights, but not all, the copyright owner “will still
16
     have standing to sue as the legal owner of the rights that were not transferred” but “no longer
17
     has standing to sue for the rights that have been transferred.” Fathers & Daughters Nevada,
18
     LLC v. Lingfu Zhang, 284 F. Supp. 3d 1160, 1167–68 (D. Or. 2018). In the same vein, the
19
     transferee only has standing as to infringements against exclusive rights that have been
20
     granted to it. See Minden Pictures, 795 F.3d at 1003 (9th Cir. 2015) (“Thus a party granted an
21
     exclusive license to display a work may bring an infringement action challenging the
22
     unauthorized display of that work by another party, even though the licensee does not hold
23
     legal title to the work.”); see also Silvers v. Sony Pictures Entertainment, Inc., 402 F.3d 881,
24
     885 (9th Cir. 2005) (“ [I]n order for a plaintiff to be ‘entitled . . . to institute an action’ for
25

26


      DEFENDANT’S MOTION TO DISMISS - 10                                                   K&L GATES LLP
                                                                                     925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                          SEATTLE, WA 98104-1158
                                                                                        TELEPHONE: +1 206 623 7580
                                                                                        FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL          Document 55        Filed 05/24/23     Page 11 of 28




 1   infringement, the infringement must be ‘committed while he or she is the owner of’ the

 2   particular exclusive right allegedly infringed.”) (emphasis added).

 3           As the Ninth Circuit has explained:

 4                    In other words, exclusive rights may be chopped up and owned
                      separately, and each separate owner of a subdivided exclusive right
 5                    may sue to enforce that owned portion of an exclusive right, no
                      matter how small. For instance, A may own the copyright in a book,
 6
                      while B may own the right to develop the book into a screenplay. A
 7                    may sue an infringer of the book; B may sue an infringer of the
                      screenplay. But only owners of an exclusive right in a copyright may
 8                    sue.

 9   Silvers, 402 F.3d at 887.
10           Baronius alleges that it has an exclusive right to distribute and publish a new English
11   translation of Grundriss, which had to be specifically approved by the rightholder before
12   publication. That “fully revised and updated” edition was published in 2018. The limited
13   nature of Baronius’s alleged exclusive right is confirmed by the contracts attached to the SAC
14   showing that the copyright holder granted a limited exclusive right to create a new English
15   translation and expressly forbade any rights to distribute or publish the existing Fundamentals
16   translation from the 1950s. Baronius does not allege that Faithlife infringed that exclusive
17   right. Instead, Baronius alleges that Faithlife published the original Fundamentals translation
18   by Patrick Lynch from the 1950s (specifically Second Edition March 1957). Baronius has not
19   alleged that it possesses (and indeed does not possess) an exclusive right to this work through
20   its 2009 contract with Nova. As to Count 1, Baronius relies exclusively on its exclusive rights
21   to “Grundriss English Edition” granted under its 2009 contract with Nova. Because
22   Baronius’s allegations fail to plausibly allege that Baronius has standing to assert a copyright
23   infringement claim as to rights it does not possess, Count I must be dismissed for failure to
24   state a claim.
25

26


      DEFENDANT’S MOTION TO DISMISS - 11                                              K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                     SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL          Document 55        Filed 05/24/23       Page 12 of 28




 1          C.      Fundamentals: Baronius has not plausibly alleged ownership of the
                    copyright or any exclusive right (Count 2).
 2
            Baronius has failed to plausibly plead ownership of the Fundamentals copyright, or
 3
     any exclusive right, for at least two reasons. First, by statute, the U.S. copyright to
 4
     Fundamentals was automatically restored and vested in the author. Baronius has conceded
 5
     that Patrick Lynch was the author of Fundamentals—indeed, Baronius listed Patrick Lynch as
 6
     the author on its copyright registration. Because Baronius has not alleged, or attached as an
 7
     exhibit, any written assignment of rights from Patrick Lynch, Baronius has failed to plausibly
 8
     state a claim. Second, even if the restored U.S. copyright could have vested in someone other
 9
     than the author, setting aside the clear statutory language, Baronius has failed to allege facts
10
     that could establish that the initial copyright vested in Mercier Press, as opposed to the author,
11
     Patrick Lynch. Baronius’s claim thus fails for the same ultimate reason: there is no written
12
     assignment from Patrick Lynch of any rights.
13
            1.      Baronius bears the burden of pleading plausible facts that establish ownership
14                  of the copyright to Fundamentals.
15
            A copyright infringement plaintiff “bears the burden of proving copyright ownership.”
16
     Choyce v. SF Bay Area Ind. Media Ctr., 2014 WL 5597274, at *1 (N.D. Cal. Nov. 3, 2014)
17
     (quoting Fleischer Studios, Inc. v. A.V.E.L.A., Inc., 654 F.3d 958, 962 (9th Cir. 2011)). This is
18
     because “ownership of a valid copyright” is necessary “to state a claim for copyright
19
     infringement.” Hyowon Elecs., Inc. v. Eron, Inc., 2014 WL 12560693, at *3 (C.D. Cal. May
20
     15, 2014). “Ownership of the copyright is therefore always a threshold question.” Id. (quoting
21
     Topolos v. Caldewey, 698 F.2d 991, 994 (9th Cir. 1983)).
22
            “Ordinarily, a certificate of registration raises the presumption of copyright validity
23
     and ownership.” Hyowon Elecs., Inc. v. Erom, Inc., 2014 WL 12560693, at *3 (N.D. Cal. May
24
     15, 2014) (quoting Dream Games of Ariz., Inc. v. PC Onsite, 561 F.3d 983, 987 n.2 (9th Cir.
25
     2009) (cleaned up)). But that presumption only applies where the registration is “made before
26


      DEFENDANT’S MOTION TO DISMISS - 12                                                K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                       SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL          Document 55        Filed 05/24/23       Page 13 of 28




 1   or within five years after first publication of the work.” 17 U.S.C. § 410(c); see also Art of

 2   Living Foundation v. Does 1-10, 2012 WL 1565281, at *8 (N.D. Cal. May 1, 2012) (“Because

 3   the registration was obtained more than five years after the [Work’s] first publication, the

 4   registration certificate, on its own, does not constitute prima facie evidence of valid copyright

 5   ownership.”). Thus, where no presumption applies, a plaintiff must sufficiently allege

 6   copyright ownership either through plausible factual allegations or verifiable, judicially

 7   noticeable documents. Hyowon Elecs., 2014 WL 12560693, at *3. Here, Baronius has failed

 8   to do so. Indeed, Baronius’s allegations and the documents attached to the complaint instead

 9   establish that Baronius is not the owner of the U.S. copyright to Fundamentals.

10          2.      The U.S. copyright to Fundamentals vested automatically in the author, who
                    has not granted any rights to Baronius.
11
            Fundamentals is a restored work. Baronius admits that in its Second Amended
12
     Complaint, alleging that “Fundamentals was not published in the U.S. during the 30-day
13
     period following its first publication in Ireland, but was in the public domain in the U.S. from
14
     1955 (because it did not comply with formalities imposed at any time by U.S. law)” and that
15
     “[t]he copyright to Fundamentals was restored on January 1, 1996 under the URAA.” SAC
16
     ¶ 39. Baronius alleges that the U.S. copyright was restored “to its initial copyright holder
17
     Mercier Press” but, under the plain language of the statute, this is incorrect. Id.
18
            Under the URAA, the U.S. copyright in a restored work “vests initially in the author
19
     or initial rightholder of the work as determined by the law of the source country of the work.”
20
     17 U.S.C. § 104A(b). The URAA thus establishes two categories of foreign copyright owners
21
     whose U.S. copyrights can be restored: (1) authors, and (2) initial rightholders. But here,
22
     “initial rightholder” is not applicable—the URAA expressly limits “initial rightholders” only
23
     to owners of a copyright in a “sound recording,” e.g. music composers. 17 U.S.C.
24
     § 104A(h)(7). Because Fundamentals is not a sound recording, the U.S. copyright to
25
     Fundamentals vested in the “author.”
26


      DEFENDANT’S MOTION TO DISMISS - 13                                                K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                       SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
             Case 2:22-cv-01635-TL            Document 55           Filed 05/24/23         Page 14 of 28




 1            Baronious alleges, and it is true, that Dr. Patrick Lynch is the “author” of

 2   Fundamentals. See SAC ¶ 25, Table 1 (listing “Dr. Patrick Lynch” as the “Author” of

 3   “Fundamentals of Catholic Dogma”).6 Baronius also listed Dr. Patrick Lynch as the “author”

 4   of Fundamentals in its copyright registration of Fundamentals that it filed in 2014. See SAC

 5   Exh. 3, Dkt. # 48-4 at p. 9. Instead, Baronius alleges only that “Mercier Press paid a fee of

 6   259.10 Irish pounds to the Translator and became an initial copyright holder of

 7   Fundamentals.” SAC ¶ 36. But, except as to sound recordings, the URAA permits U.S.

 8   copyrights to be restored only to an “author.” Because Baronius alleges that Dr. Patrick Lynch

 9   is the “author,” Baronius has not plausibly alleged that the U.S. copyright was restored to

10   anyone other than Dr. Patrick Lynch.

11            3.      Under Irish law, Mercier Press was not the first copyright holder (or author)
                      of Fundamentals.
12
              Faithlife understands that the parties agree that the operative law in Ireland in 1953
13
     through 1955 (when Fundamentals was authored and published) pertaining to copyrights was
14
     the Industrial and Commercial Property (Protection) Act of 1927.7 Section 158(1) provides
15
     that “the author of a work shall be the first owner of the copyright therein” with only two
16
     exceptions. Indus. And Com. Prop. (Protection) Act 1927 (Act No. 16/1927) (Ir.),
17
     https://www.irishstatutebook.ie/eli/1927/act/16/section/158/enacted/en/html#. First, “where,
18
     in the case of an engraving, photograph, or portrait, the plate or other original was ordered by
19
     some other person and was made for valuable consideration in pursuance of that order, then,
20
     in the absence of any agreement to the contrary, the person by whom such plate or other
21
     original was ordered shall be the first owner of the copyright.” Id. at § 158(1)(a). Second,
22

23
     6
24     The Original and First Amended Complaint contained further allegations that “Fundamentals of Catholic
     Dogma (‘Fundamentals’) was authored by Dr. Patrick Lynch . . .” but these allegations were omitted from the
25   Second Amended Complaint. Compare Compl. ¶ 26 and FAC ¶ 26, with SAC ¶ 36.
     7
       A copy of this statute, provided by the Office of the Attorney General of Ireland, can be found at
26   https://www.irishstatutebook.ie/eli/1927/act/16/enacted/en/print#sec158 and a copy is attached as Exhibit 1.
     Faithlife requests judicial notice be taken of this statute pursuant to Fed. R. Evid. 201.

         DEFENDANT’S MOTION TO DISMISS - 14                                                      K&L GATES LLP
                                                                                           925 FOURTH AVENUE, SUITE 2900
         Case No. 2:22-CV-01635-TL                                                             SEATTLE, WA 98104-1158
                                                                                              TELEPHONE: +1 206 623 7580
                                                                                              FACSIMILE: +1 206 623 7022
             Case 2:22-cv-01635-TL              Document 55            Filed 05/24/23          Page 15 of 28




 1   “where the author was in the employment of some other person under a contract of service or

 2   apprenticeship and the work was made in the course of his employment by that person, the

 3   person by whom the author was employed shall, in the absence of any agreement to the

 4   contrary, be the first owner of the copyright . . . .” Id. at §158(1)(b).8

 5            As an initial matter, these exceptions are irrelevant to determining in whom the U.S.

 6   copyright to Fundamentals vested when it was restored. This is because neither exception

 7   changes who is the “author.” Instead, the statute expressly distinguishes between the “author”

 8   and the “first owner of the copyright.” Even if Mercier Press qualified as the first owner of the

 9   copyright, it still is not the “author” under Irish law, and therefore the U.S. copyright to

10   Fundamentals could not have vested in Mercier Press.

11            But here, Baronius’s factual allegations also establish that the two exceptions under

12   Irish law do not apply, and Dr. Patrick Lynch was the first owner of the copyright, not

13   Mercier Press. The first exception is plainly inapplicable—Fundamentals is not “an

14   engraving, photograph, or portrait” and Baronius has not alleged it is. And the second

15   exception also does not apply. The complaint does not contain any allegations that Dr. Patrick

16   Lynch was “in the employment” of Mercier Press or that “the work was made in the course of

17   his employment.” Instead, the complaint alleges that Mercier Press “became an initial

18   copyright holder of Fundamentals” because Fundamentals “was commissioned by Mercier

19   Press, Ireland as work for hire to Dr. Patrick Lynch” and “Mercier Press paid a fee of 259.10

20   Irish pounds to [Dr. Patrick Lynch].”9 The only evidence attached to the complaint is

21   consistent with this description—that Dr. Patrick Lynch was not an employee or apprentice,

22

23
     8
       This remains the law in Ireland today. See Copyright and Related Rights Act, 2000 at Section 23 (Act. No.
24   28/2000), https://www.irishstatutebook.ie/eli/2000/act/28/enacted/en/html# (“The author of a work shall be the
     first owner of the copyright unless (a) the work is made by an employee in the course of employment, in which
25   case the employer is the first owner of any copyright in the work, subject to any agreement to the contrary ... .”).
     9
       Although Baronius references “work for hire,” that phrase does not appear in the operable Irish statute. To the
26   extent this references “work made for hire” under U.S. copyright law, that is irrelevant here because the law of
     the source country, Ireland, applies. 17 U.S.C. § 104A(b).

         DEFENDANT’S MOTION TO DISMISS - 15                                                          K&L GATES LLP
                                                                                               925 FOURTH AVENUE, SUITE 2900
         Case No. 2:22-CV-01635-TL                                                                 SEATTLE, WA 98104-1158
                                                                                                  TELEPHONE: +1 206 623 7580
                                                                                                  FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL         Document 55        Filed 05/24/23      Page 16 of 28




 1   but rather an independent person to whom Mercier Press paid discrete translation fees for

 2   specific works. See SAC Exh. 3; Dkt # 48-4 at pp. 6–7 (ledger showing sporadic payments to

 3   Dr. Patrick Lynch for specific translations).

 4          Because Dr. Patrick Lynch was not an employee or apprentice, and the work was not

 5   created during the course of that employment (and Fundamentals is not an engraving,

 6   photograph, or portrait), Dr. Patrick Lynch, “the author of [the] work,” was “the first owner of

 7   the copyright therein” under Irish law in the 1950s. Thus, even if the U.S. copyright could

 8   have been restored to someone other than the “author” (or even if the “first owner of the

 9   copyright” under Sections 158(1)(a) or (b) qualified as the “author” under Irish law),

10   Baronius’s allegations show that Dr. Patrick Lynch, not Mercier Press, was the first owner of

11   the copyright under Irish law.

12          4. Baronius has not plausibly alleged that Dr. Patrick Lynch assigned his U.S.
               copyright to Mercier Press, Baronius, or anyone else.
13
            Whether looking at the “author” or “first owner of the copyright,” Baronius’s
14
     allegations plausibly establish that the restored U.S. copyright to Fundamentals vested in Dr.
15
     Patrick Lynch. Under both U.S. and Irish law—in the 1950s and today—a copyright may only
16
     be assigned by written agreement. See Indus. And Com. Prop. (Protection) Act 1927 at
17
     Section 158(2) (Act No. 16/1927) (Ir.),
18
     https://www.irishstatutebook.ie/eli/1927/act/16/section/158/enacted/en/html# (“The owner of
19
     the copyright in any work may assign the right . . . but no such assignment or grant shall be
20
     valid unless it is in writing signed by the owner of the right in respect of which the
21
     assignment or grant is made”); Copyright and Related Rights Act, 2000 at Section 120(3) (Act
22
     No. 28/2000), https://www.irishstatutebook.ie/eli/2000/act/28/enacted/en/html (“An
23
     assignment of the copyright in a work, whether in whole or in part, is not effective unless it is
24
     in writing and signed by or on behalf of the assignor”); 17 U.S.C. § 28 (1909 Act)
25
     (“Copyright secured under this title or previous copyright laws of the United States may be
26


      DEFENDANT’S MOTION TO DISMISS - 16                                              K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                     SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL         Document 55        Filed 05/24/23      Page 17 of 28




 1   assigned, granted, or mortgaged by an instrument in writing signed by the proprietor of the

 2   copyright, or may be bequeathed by will.”); 17 U.S.C. § 204(a) (“A transfer of copyright

 3   ownership, other than by operation of law, is not valid unless an instrument of conveyance, or

 4   a note or memorandum of the transfer, is in writing and signed by the owner of the rights

 5   conveyed or such owner’s duly authorized agent.”).

 6           There are no allegations in the Second Amended Complaint, and no documents

 7   attached exhibiting, that Dr. Patrick Lynch assigned any of his exclusive rights to the U.S. (or

 8   other) copyright in Fundamentals in writing. Instead, the chain of title alleged in the Second

 9   Amended Complaint stops at Mercier Press. See SAC Exh. 3; Dkt. #48-4. Count 2 therefore

10   should be dismissed for failure to state a claim because Baronius has not plausibly alleged

11   ownership of the copyright of which it alleges infringement. See, e.g., Fleischer Studios, Inc.,

12   654 F.3d at 962 (9th Cir. 2011).

13           D.      Counts 3 and 4: Baronius fails to state a claim for violation of the Digital
                     Millennium Copyright Act.
14
             1.      Baronius has not plausibly alleged ownership or exclusive right to Grundriss
15                   or Fundamentals and therefore has no injury or standing.
16
             The DMCA provides a private right of action to “[a]ny person injured by a violation of
17
     section 1201 or 1202.” 17 U.S.C. § 1203(a). Baronius’s only alleged injuries stem from
18
     Baronius’s alleged ownership or other interest in Grundriss or Fundamentals. SAC ¶ 128,
19
     145. As detailed above, see supra Sections III.A–C, Baronius has not plausibly alleged that it
20
     owns the copyright to, or holds any exclusive right in, Grundriss or Fundamentals, does not
21
     have standing for its copyright infringement claims, and those claims should be dismissed for
22
     failure to state a claim.
23
             Where a plaintiff fails to show an ownership interest in the underlying copyright, and
24
     the alleged injury derives from that copyright, there is no standing for a DMCA claim. See,
25
     e.g., Shah v. NYP Holdings, Inc., 2023 WL 266511, at *4 (N.D. Ill. Jan. 18, 2023) (“Absent
26


      DEFENDANT’S MOTION TO DISMISS - 17                                              K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                     SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL              Document 55          Filed 05/24/23         Page 18 of 28




 1   an ownership interest in the images, it is unclear how [plaintiff] faced any injury as a result of

 2   the allegedly improper attribution of these photographs to IMDb or Facebook.”); Pisciotti v.

 3   Brittingham, 2022 WL 2392198, at *14 n.25 (W.D. Wa. July 1, 2022) (“Finally, [plaintiff]

 4   must establish that he owns the copyright in the Work to prove that he was injured by

 5   [defendant’s] alleged section 1202 violations. See 17 U.S.C. § 1203(a). The Court does not

 6   mean to suggest that only copyright owners have standing to bring DMCA claims. . . . But

 7   [plaintiff]’s complaint makes clear that, at least in this case, whether he was injured turns on

 8   confirmation of his ownership.”). Here, Counts 3 and 4 are clear that Baronius’s alleged

 9   injuries turn on its ownership of the copyrights, or exclusive rights therein. See SAC ¶¶ 117–

10   119, 134–136 (re-alleging Baronius’s ownership interests in the copyrights); ¶¶ 128, 145

11   (describing Baronius’s “actual damages” as “arising from reputation damage, legal fees,

12   diminished market value of [the allegedly infringed work], and loss of control of ownership of

13   [the allegedly infringed work].”). If Counts 1 and 2 are dismissed, Counts 3 and 4 also should

14   be dismissed for lack of standing.

15           2.       Baronius fails to plausibly allege Faithlife knowingly provided false CMI and
                      did so with intent to induce, enable, facilitate, or conceal an infringement.
16
             Baronius also fails to state a claim for violation of Section 1202(a) of the DMCA
17
     because it has not plausibly alleged facts that satisfy the intent requirements.10 Section
18
     1202(a) states that “no person shall knowingly and with the intent to induce, enable, facilitate,
19
     or conceal infringement—(1) provide copyright management information that is false, or (2)
20
     distribute or import for distribution copyright management information that is false.” 17
21
     U.S.C. § 1202(a). Thus, § 1202(a) requires that the plaintiff “plausibly allege that the
22
     defendant knowingly provided false copyright information and that the defendant did so with
23
     the intent to induce, enable, facilitate, or conceal an infringement.” LIVN Worldwide Ltd. v.
24

25
     10
        While the Second Amended Complaint does not specify between Sections 1202(a) and (b), there are no
26   allegations that Baronius altered or removed copyright management information. Therefore Section 1202(b) is
     inapplicable here.

      DEFENDANT’S MOTION TO DISMISS - 18                                                        K&L GATES LLP
                                                                                          925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                               SEATTLE, WA 98104-1158
                                                                                             TELEPHONE: +1 206 623 7580
                                                                                             FACSIMILE: +1 206 623 7022
                Case 2:22-cv-01635-TL              Document 55           Filed 05/24/23         Page 19 of 28




 1   Vubiquity Inc., 2022 WL 18278580, at *5 (C.D. Cal. July 22, 2022) (emphasis in original)

 2   (quoting Krechmer v. Tantaros, 747 Fed. App’x. 6, 9 (2d Cir. 2018)). “At the pleading stage,

 3   the claimant must plead facts plausibly showing that the alleged infringer had this required

 4   mental state.” Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1175 (N.D. Cal. June

 5   18, 2019).

 6               Baronius fails to plausibly allege such intent because the allegations merely recite the

 7   elements of intent required under § 1202(a) of the DMCA—and those allegations are directly

 8   contradicted by both factual allegations and the documents attached to the complaint.11

 9   Morgan v. Associated Press, 2016 WL 6953433, at *3 (granting defendant’s motion to

10   dismiss a § 1202(a) claim and holding that “a formulaic recitation of the elements of a cause

11   of action, including allegations regarding a defendant's state of mind, are not sufficient to

12   satisfy Rule 8.”); see also Mills v. Netflix, Inc., 2020 WL 548558, at *3 (C.D. Cal. Feb. 3,

13   2020) (same and collecting cases in accord).

14               All of Plaintiff’s allegations as to intent with respect to CMI are set out below:

15          •    ¶ 4: “Upon information and belief, Defendant knowingly, and with an intent to induce,
16               enable, facilitate, or conceal its infringement, knowingly provided false [CMI] in at

17               least seventy-five copies of Fundamentals for which Plaintiff holds copyright rights,

18               displaying false CMI in at least seventy-five copies of Fundamentals that it

19               reproduced and distributed.”

20

21
     11
          Baronius also fails to plausibly allege knowledge, but for purposes of this motion, Faithlife has focused on the
22   clear absence of plausible allegations of intent to induce, enable, facilitate, or conceal an infringement. While
23   Baronius alleges that Faithlife had knowledge through its prior 2013 publication of Fundamentals, Baronius also
     attaches to the complaint Faithlife’s repeated explanation that the 2013 employees had left the company by 2019
24   and the new employees made the same mistake in 2019 in researching the copyrights and mistakenly believed
25   Fundamentals to be in the public domain. Baronius has not contested these explanations, or made contrary
     factual allegations other than boilerplate statements of knowledge, and therefore cannot plausibly allege
26   knowledge either.


      DEFENDANT’S MOTION TO DISMISS - 19                                                               K&L GATES LLP
                                                                                                 925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                                      SEATTLE, WA 98104-1158
                                                                                                    TELEPHONE: +1 206 623 7580
                                                                                                    FACSIMILE: +1 206 623 7022
            Case 2:22-cv-01635-TL         Document 55        Filed 05/24/23      Page 20 of 28




 1      •    ¶ 74: “Defendant provided Fundamentals with false CMI intentionally and
 2           purposefully.”

 3      •    ¶¶ 97, 110: “Defendant attempted to conceal its aforementioned acts of copyright
 4           infringement by providing [Grundriss English Edition / Fundamentals] with false

 5           CMI, by publishing statements that it is negotiating with the copyright holder to obtain

 6           a permission to reproduce and distribute [Grundriss English Edition / Fundamentals],

 7           and other acts of concealment as alleged in this Complaint, as well as other acts of

 8           concealment not currently known by Plaintiff.”

 9      •    ¶¶ 76, 124, 141: “Defendant purposefully concealed its acts of willful copyright
10           infringement from the public on its online Forums by using the term “new

11           copyrightholder” instead of clearly stating that Plaintiff was the copyright holder of

12           Grundriss English Edition [and Fundamentals].”

13      •    ¶¶ 126, 143: “The conduct of Defendant was intentional and purposeful at a minimum
14           as Defendant had constructive and actual knowledge of the true copyright holder of

15           Grundriss English Edition [and Fundamentals].”

16      Every allegation above is conclusory and implausible. Baronius alleges Faithlife acted

17   with intent because “Defendant had actual or constructive knowledge of the true copyright

18   holder.” But alleging knowledge does not plausibly allege intent. If knowledge was all that

19   was required to show that a defendant acted “intentionally” under the DMCA, the statute

20   would not require both knowledge and intent. There are no allegations at all as to Faithlife’s

21   mental state or any specific factual allegations supporting the plausibility that Faithlife

22   intended to induce, enable, facilitate, or conceal infringement—the only allegation that comes

23   close relates to a statement Faithlife made after removing Fundamentals from publication

24   (and thus does not show intent in the initial CMI publication). For this reason alone, the Court

25   should grant Faithlife’s motion to dismiss Plaintiff’s DMCA claim. See Morgan, 2016 WL

26   6953433, at *3.


      DEFENDANT’S MOTION TO DISMISS - 20                                                K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                       SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
           Case 2:22-cv-01635-TL               Document 55          Filed 05/24/23         Page 21 of 28




 1           But these allegations are especially implausible because they are directly contradicted

 2   by Baronius’s own factual allegations. Specifically, Baronius alleges that:

 3           •    Faithlife published Fundamentals for two months—from April 25, 2019 to June
 4                26, 2019. SAC ¶¶ 49, 51, 55.12

 5           •    Faithlife voluntarily stopped publishing Fundamentals on its own six months
 6                before Baronius contacted Faithlife. SAC ¶ 55.

 7           •    On April 24, 2019—the same day Fundamentals first was published—Faithlife
 8                stated in a public forum that “Verbum still doesn’t have rights to produce this, but

 9                we are going to revisit the rights situation with both the German publisher (Herder)

10                and a newer U.S. publisher (Baronius) to see if we can get this licensed.” SAC

11                ¶ 55.

12           •    When Faithlife ceased publishing Fundamentals, it posted on a public forum that it
13                had learned the CMI was incorrect. Id. Specifically, Faithlife publicly stated it had

14                “learned more recently—and definitively—that the book has a new copyright

15                holder” which was why “we had to take the book down (again).” Id. Faithlife also

16                stated that it was attempting to work with that new copyright holder (Baronius) to

17                license the book—in other words, affirmatively correcting the copyright

18                information and publicly stating that Baronius was the correct copyright holder. Id.

19           •    The allegedly “false CMI” is simply the copyright information from the version of
20                the book that Faithlife scanned—the Second Edition from 1957. SAC Exh. 9, Dkt

21                # 48-10; FAC Exhs. 7 and 8, Dkt. # 13-8, 13-9.

22           These factual allegations simply are not consistent with an intent to induce, enable,

23   facilitate, or conceal infringement, and indeed render such allegations implausible. A party

24   that intended to induce, enable, facilitate, or conceal infringement would not voluntarily cease

25
     12
26     Note that paragraph 49 incorrectly states March—this appears to be a typo as the screenshot in the same
     paragraph shows April 24th, and the remaining factual allegations in the SAC state April.

      DEFENDANT’S MOTION TO DISMISS - 21                                                         K&L GATES LLP
                                                                                           925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                                SEATTLE, WA 98104-1158
                                                                                              TELEPHONE: +1 206 623 7580
                                                                                              FACSIMILE: +1 206 623 7022
              Case 2:22-cv-01635-TL             Document 55           Filed 05/24/23          Page 22 of 28




 1   its publication, publicize its own investigation into the copyright, and publicly correct the

 2   copyright information. The allegations and exhibits also show that Faithlife simply provided

 3   the CMI from the 1957 book version it scanned—hardly a nefarious scheme to induce, enable,

 4   facilitate, or conceal infringement. Instead, Baronius’s allegations indicate that Faithlife was

 5   acting innocently and transparently. See Stevens v. Corelogic, Inc., 899 F.3d 648, 671 (9th

 6   Cir. 2018) (citing legislative history to show that “Section 1202’s provisions ‘do not apply to

 7   those who act innocently . . .’”) (ellipsis in original).

 8             Baronius also attached exhibits to the SAC showing that Faithlife’s publication of

 9   Fundamentals was accidental and without intent—directly contradicting Baronius’s

10   barebones allegations of intent. Specifically:

11        •    Faithlife’s then-CEO explained to Baronius that Faithlife’s employees had
12             “consult[ed] a copyright renewal database and ma[d]e a possible-incorrect

13             determination, based on not finding the book in the renewal database, and our lay-

14             interpretation of the copyright laws.” SAC Exh. 7; Dkt. # 48-8 at p. 9. The employees

15             had “made a good faith effort to determine the copyright status and ensure the title was

16             in the public domain, using what they thought was a complete and correct process.” Id.

17        •    The employees who made the previous mistake in 2013 had left the company and
18             “different team members (not employed with [Faithlife] in 2013) consulted the

19             copyright databases again, and not knowing the history on this title, made the same

20             interpretation as the first time.” Id. (“The issue at hand was this second mistake, made

21             by a different employee. It was unintentional, was remedied as soon as brought to our

22             attention, and resulted in $388 in revenue, and a list-price loss to you of under $5,000.

23             We followed up with an offer to give you all this revenue and more.”).13

24

25
     13
       Baronius actually included factual allegations confirming this fact, specifically alleging that Craig St. Clair,
26   the Verbum Product Manager responsible for the publication of Fundamentals in 2019, was employed “between
     September 2017 and March 2020.” SAC ¶ 21.

      DEFENDANT’S MOTION TO DISMISS - 22                                                            K&L GATES LLP
                                                                                              925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                                   SEATTLE, WA 98104-1158
                                                                                                 TELEPHONE: +1 206 623 7580
                                                                                                 FACSIMILE: +1 206 623 7022
            Case 2:22-cv-01635-TL         Document 55        Filed 05/24/23      Page 23 of 28




 1      •    When initially contacted by Baronius, Faithlife offered its “deepest apologies” and
 2           stated that “[t]he posting of the title was inadvertent and it was taken down from our

 3           website and made unavailable for sale when the error was realized.” SAC Exh. 6.

 4      •    Faithlife generated a whopping $388 in revenue from 75 total copies distributed of
 5           Fundamentals during the two months it was made available. SAC Exh. 6 and 7.

 6      These statements obviously come directly from Faithlife. But this case is unusual because

 7   these statements are (1) attached to the complaint; and (2) uncontested by any non-conclusory

 8   factual allegations by Baronius. See Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d

 9   1025, 1031 (9th Cir. 2008) (The Court “need not accept as true conclusory allegations that are

10   contradicted by documents referred to in the complaint.”). Aside from its generic recitations

11   of the intent elements, Baronius has not alleged facts that Faithlife’s explanations are untrue.

12   As such, Baronius’s boilerplate allegations are not plausible. This claim for violation of

13   § 1202(a) should be dismissed.

14           E.     All claims should be dismissed with prejudice.

15           Baronius has had three bites at the apple and has failed to plausibly state a claim as to

16   any of the four claims. Baronius also declined to amend for a fourth time and already has had

17   the opportunity to amend after Faithlife raised that Baronius has not plausibly alleged

18   copyright ownership or intent under the DMCA. Faithlife understands that Baronius has

19   attached all of the evidence it possesses regarding copyright ownership—there are no further

20   factual allegations Baronius could make to establish ownership of either the Fundamentals

21   copyright or an exclusive right to Grundriss that is allegedly infringed. Further amendment

22   therefore would be futile and the claims should be dismissed with prejudice. Khalid v.

23   Microsoft Corp., 409 F. Supp. 3d 1023, 1031 (W.D. Wash. 2019); see also Chaves v.

24   Amazon.com Servs. LLC, 2022 WL 1908827, at *2 (W.D. Wash. May 23, 2022), report and

25   recommendation adopted, 2023 WL 3301994 (W.D. Wash. May 8, 2023) (further amendment

26   was futile because the complaint had already been amended twice).


      DEFENDANT’S MOTION TO DISMISS - 23                                               K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                      SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
          Case 2:22-cv-01635-TL          Document 55        Filed 05/24/23     Page 24 of 28




 1                                        IV. CONCLUSION

 2          Based on the foregoing, Faithlife respectfully requests that the Court dismiss

 3   Plaintiff’s Second Amended Complaint and all claims therein pursuant to Fed. R. Civ. P.

 4   12(b)(6) for failure state a claim upon which relief can be granted.

 5
            DATED this 24th day of May, 2023.
 6

 7
                                                        K&L Gates LLP
 8
                                                        By s/ Nicholas F. Lenning
 9                                                        Nicholas F. Lenning, WSBA #54740
                                                          Ashley E.M. Gammell, WSBA #50123
10                                                      925 Fourth Avenue, Suite 2900
                                                        Seattle, WA 98104
11                                                      Phone: (206) 623-7580
                                                        Fax: (206) 623-7022
12                                                      Email: nicholas.lenning@klgates.com
                                                                  ashley.gammell@klgates.com
13
                                                        Attorneys for Defendant
14                                                      Faithlife Corporation

15                                                      I certify that this motion contains 7,783
                                                        words, in compliance with LCR 7(e)(3).
16

17

18
19

20

21

22

23

24

25

26


      DEFENDANT’S MOTION TO DISMISS - 24                                             K&L GATES LLP
                                                                               925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                    SEATTLE, WA 98104-1158
                                                                                  TELEPHONE: +1 206 623 7580
                                                                                  FACSIMILE: +1 206 623 7022
          Case 2:22-cv-01635-TL          Document 55        Filed 05/24/23     Page 25 of 28




 1                            Conferral under this Court’s Standing Order

 2          Defendant Faithlife has had an opportunity to meet and confer with Plaintiff Baronius

 3   concerning this motion to dismiss. Specifically, Faithlife provided the basis for its motion by

 4   email and the parties then met and conferred by telephone conference on April 19th. The

 5   parties exchanged numerous emails with their positions, and Baronius confirmed by email on

 6   May 4th and May 9th that it would not be further amending the complaint to address

 7   Faithlife’s arguments.

 8

 9                                                      s/ Nicholas F. Lenning
                                                          Nicholas F. Lenning, WSBA #54740
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26


      DEFENDANT’S MOTION TO DISMISS - 25                                              K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      Case No. 2:22-CV-01635-TL                                                     SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
Case 2:22-cv-01635-TL   Document 55   Filed 05/24/23   Page 26 of 28




                  EXHIBIT 1
5/24/23, 11:33 AM      Case 2:22-cv-01635-TLIndustrial
                                                  Document       55 Property
                                                       and Commercial   Filed   05/24/23
                                                                             (Protection)          Page
                                                                                          Act, 1927, Section27
                                                                                                             158of 28



   Home > Acts > 1927 > Industrial and Commercial Property (Protection) Act, 1927




   Industrial and Commercial Property (Protection) Act,
   1927
   Ownership          158.—(1) Subject to the provisions of this Act, the author of a work shall be the first owner of the
   of               copyright therein:
   copyright,

   etc.


                      Provided that—

                         (a) where, in the case of an engraving, photograph, or portrait, the plate or other original was
                               ordered by some other person and was made for valuable consideration in pursuance of
                               that order, then, in the absence of any agreement to the contrary, the person by whom
                               such plate or other original was ordered shall be the first owner of the copyright; and

                         (b) where the author was in the employment of some other person under a contract of
                               service or apprenticeship and the work was made in the course of his employment by
                               that person, the person by whom the author was employed shall, in the absence of any
                               agreement to the contrary, be the first owner of the copyright, but where the work is an
                               article or other contribution to a newspaper, magazine, or similar periodical, there shall,
                               in the absence of any agreement to the contrary, be deemed to be reserved to the
                               author a right to restrain the publication of the work, otherwise than as part of a
                               newspaper, magazine, or similar periodical.

                      (2) The owner of the copyright in any work may assign the right, either wholly or partially, and
                    either generally or subject to limitation as to place or otherwise and either for the whole term of
                    the copyright or for any part thereof, and may grant any interest in the right by licence, but no
                    such assignment or grant shall be valid unless it is in writing signed by the owner of the right in
                    respect of which the assignment or grant is made, or by his duly authorised agent:




https://www.irishstatutebook.ie/eli/1927/act/16/section/158/enacted/en/html#sec158                                           1/2
5/24/23, 11:33 AM      Case 2:22-cv-01635-TLIndustrial
                                                  Document       55 Property
                                                       and Commercial   Filed   05/24/23
                                                                             (Protection)          Page
                                                                                          Act, 1927, Section28
                                                                                                             158of 28

                      Provided that, where the author of a work is the first owner of the copyright therein, no
                    assignment of the copyright, and no grant of any interest therein, made by him (otherwise than by
                    will) after the passing of this Act, shall be operative to vest in the assignee or grantee any rights
                    with respect to the copyright in the work beyond the expiration of twenty-five years from the
                    death of the author, and the reversionary interest in the copyright expectant on the termination of
                    the period shall, on the death of the author, notwithstanding any agreement to the contrary,
                    devolve on his legal personal representatives as part of his estate, and any agreement entered in
                    to by him as to the disposition of such reversionary interest shall be null and void, but nothing in
                    this proviso shall be construed as applying to the assignment of the copyright in a collective work
                    or a licence to publish a work or part of a work as part of a collective work.

                      (3) Where, under any partial assignment of copyright, the assignee becomes entitled to any right
                    comprised in copyright, the assignee as respects the right so assigned, and the assignor as
                    respects the rights not assigned, shall be treated for the purposes of this Act as the owner of the
                    copyright, and the provisions of this Act shall have effect accordingly.




https://www.irishstatutebook.ie/eli/1927/act/16/section/158/enacted/en/html#sec158                                          2/2
